Case 2:18-cv-10878-JMV-JBC Document 46 Filed 01/10/20 Page 1 of 1 PageID: 1637



                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY



 IN RE NEWELL BRANDS, INC.
 SECURITIES LITIGATION
                                                         Civil ActionNo. l8-10878(JMV)
                                                                     ORDER


 John Michael Vazguez, U.S.DJ.

        On December 10, 2019, this Court dismissed Plaintiffs First Amended Consolidated

Complaint, D.E. 32, without prejudice. D.E. 42, 43. The Court provided Plaintiff with leave to

file an amended pleading but stated that if Plaintiff failed to file an amended pleading within thirty

days, the matter would be dismissed with prejudice; id.; and it further

        APPEARING that to date, Plaintiff has not filed an amended pleading; and it further

        APPEARING that on January 9, 2020, Plaintiff notified the Court by letter on the docket,

D.E. 45, that it has elected not to file an amended complaint;

        Therefore, for the foregoing reasons and for good cause shown,

        IT IS on this 10th day of January, 2020,

        ORDERED that Plaintiff’s First Amended Consolidated Complaint is dismissed with

prejudice; and it is further

        ORDERED that the Clerk of the Court is directed to close this matter.



                                                      John Michael
                                                                                 /
                                                                     Vazquk,Li.S.D.J.
